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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11

LEINER HEALTH PRODUCTS INC., Case No. 08-10446 (KJC)

 

 

Debtor ANT. 150, 1384, 1396
In re: Chapter 11
LHP HOLDING CORP., Case No. 08-10447 (KIC)
Debtor.
In re: Chapter 11

LEINER HEALTH PRODUCTS, LLC, Case No. 08-10448 (KIC)

Debtor.

 

In re: Chapter 11

LEENER HEALTH SERVICES CORP., Case No. 08-10449 (CIC)

Debtor.

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FINAL DECREE CLOSING CHAPTER 11 CASES
AND GRANTING RELATED RELIEF

Upon the motion, dated May 30, 2013 (the “Motion”)| of the LHP Liquidating

 

Trust (the “Trust”), by and through KDW Restructuring & Liquidation Services LLC, as
Ligquidating Trustee for entry of a final decree closing the Chapter 11 Cases pursuant to section

350(a) of the United States Bankruptcy Code, 11 U.S.C. §§ 101-1532 (the “Bankruptey Code”),

 

" Capitalized terms used but not defined herein shall have the imeanings ascribed to such terms in
the Motion.

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Rule 3022 of the Federal Rules of Bankruptey Procedures (the “Bankruptcy Rule”) and Rule
3022-1(a) of the Local Rules of Bankruptcy Practice and Procedure of the United States
Bankruptcy Court for the District of Delaware (the “Local Rules”) and for related relief
approving the Liquidating Trustee’s final report and accounting, and granting the Liquidating
Trustee and certain related parties a release of discharge; and it appearing that this estate has
been fully administered as required by section 350{a) of the Bankruptcy Code and Bankruptcy
Rule 3022, making no further administration necessary; and it appearing that all fees due
pursuant to 28 U.S.C. § 1930 have been paid; and due and sufficient notice of the Motion and the
Final Report required by Local Rule 3022-1 and Liguidating Trust Agreement Art. 6.6 has been
given, and after due deliberation and sufficient cause appearing therefor, it is hereby

ORDERED, that the Motion is granted; and it is further

ORDERED, that the following cases of the Debtors are hereby closed pursuant to
section 350(a) of the Bankruptcy Code, Bankruptcy Rule 3022 and Local Rule 3022-1; (i) Case
No. 08-10446 filed by Leiner Health Products Inc.; (ii) Case No. 08-10447 filed by LHP Holding
Corp.; (ili) Case No. 08-10448 filed by Leiner Health Products, LLC; and (iv) Case No. 08-
10449 filed by Leiner Health Services Corp.; and it is further

ORDERED, that on or prior to July 31, 2013, the Liquidating Trustee shall submit
to the Office of the United States Trustee for the District of Delaware and file with this Court
post-confirmation quarterly report for the second quarter of 2013 (and any such reports through
the date of entry of this final decree); and it is further

ORDERED, that pursuant to the Liquidating Trust Agreement, including sections
11.1 and 11.5 thereof, the Liquidating Trustee and its agents, employees, professionals and

predecessors-in-interest, and also of the members of the Liquidating Trust Committee and their

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respective professionals, shall be relieved of all duties and released and discharged from any
further obligations, claims, and liability under or related to the Liquidating Trust Agreement or
the Chapter 11 Cases; and it is further

ORDERED, that the Final Report is hereby approved for all purposes, including
local Bankruptcy Rule 3022-1(c) and Liquidating Trust Agreement Art. 6.5 and 6.6; and it is
further

ORDERED, that the Liquidating Trustee is authorized to donate to the ABI
Endowment Fund and/or the New Jersey Bankruptcy Lawyers Foundation any funds remaining
in the Trust after distributions to unsecured creditors and payment of the Trust’s expenses,
including any amounts remaining as a result of undeliverable distributions, if such funds
represent less than 0.5% of the aggregate amount of Allowed General Unsecured Claims (as such
term is defined in the Plan) under the Plan; and it is further

ORDERED that entry of this Final Decree is without prejudice to the rights of the
Liquidating Trustee or any party in interest to seek to reopen the Chapter 11 Cases for cause; and
it is further

ORDERED that the Liquidating Trustee is authorized and empowered to take all
actions necessary or appropriate to implement the relief granted in this Order; and it is further

ORDERED that notwithstanding the possible applicability of Bankruptcy Rule
6004(h), 7062, 9014 or otherwise, the terms and conditions of this Order shall be immediately
effective and enforceable upon its entry; and it is further

ORDERED that to the extent that this Order is inconsistent with any prior order or
pleading with respect to the Motion in the Chapter 11 Cases, the terms of this Order shall govern;

and it is further

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ORDERED that this Court shall retain jurisdiction to hear and determine all

matters arising from or related to this Order.

Dated: June [| , 2013

Wilmington, Delaware ane
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THE HO oe VIN J. CAREY
UNITE a KRUPTOY JUDGE

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